237 F.3d 681 (D.C. Cir. 2001)
    Slinger Drainage, Inc., Petitionerv.Environmental Protection Agency, Respondent
    No. 99-1433
    United States Court of Appeals  FOR THE DISTRICT OF COLUMBIA CIRCUIT
    Argued January 18, 2001Decided January 30, 2001
    
      On Petition for Review of Orders of the Environmental Protection Agency
      Gary R. Leistico argued the cause and filed the briefs for  petitioner.
      Scott J. Jordan, Attorney, United States Department of  Justice, argued the cause for respondent. With him on the  brief was Lois J. Schiffer, Assistant Attorney General.
      Before:  Edwards, Chief Judge, Sentelle and Randolph,  Circuit Judges.
      Opinion for the Court filed by Chief Judge Edwards.
      Harry T. Edwards, Chief Judge:
    
    
      1
      Slinger Drainage Inc. ("Slinger")  seeks review of a final decision of the Environmental Protection Agency's ("EPA's") Environmental Appeals Board. Slinger is in the business of installing drainage tile, and in  this capacity used a Hoes Trenching Machine to install 26,000  linear feet of drainage tile over a 50-acre area.  As a result,  the EPA filed an administrative complaint against Slinger  alleging that Slinger violated § 301(a) of the Clean Water  Act, 33 U.S.C. § 1311(a) (1994), by failing to secure a permit  before discharging pollutant into wetland as required under  § 404 of the Clean Water Act, 33 U.S.C. § 1344.  The Administrative Law Judge found Slinger liable as alleged and  assessed a Class II civil penalty of $90,000;  the Appeals  Board affirmed both the finding of liability and the penalty. In re:  Slinger Drainage, Inc., CWA Appeal No. 98-10 (Sept.  29, 1999), reprinted in Joint Appendix 39.  Whatever the  substance of Slinger's claims, this court has no jurisdiction to  reach the merits in this case, because Slinger's notice of  appeal was untimely.
    
    
      2
      In the case of an assessment of a Class II civil penalty, a  party may obtain judicial review "by filing a notice of appeal  in such court within the 30-day period beginning on the date  the civil penalty order is issued."  33 U.S.C. § 1319(g)(8)(B). The Supreme Court has explained that "[j]udicial review  provisions ... are jurisdictional in nature and must be construed with strict fidelity to their terms....  This is all the  more true of statutory provisions specifying the timing of  review, for those time limits are, as we have often stated,  'mandatory and jurisdictional,' ... and are not subject to  equitable tolling."  Stone v. Immigration and Naturalization  Serv., 514 U.S. 386, 405 (1995) (quoting Missouri v. Jenkins,  495 U.S. 33, 45 (1990)).  Under 33 U.S.C. § 1319(g)(8)(B),  Slinger had 30 days to file its notice of appeal beginning on  the date the order issued.  As a statutory provision defining  the timing of review within a judicial review provision, this  30-day period is jurisdictional.
    
    
      3
      The parties disagree on when the Appeals Board issued its  order.  Slinger asserts that the order issued on Thursday,  September 30, 1999;  the EPA argues that the order issued  on Wednesday, September 29, 1999.  For the purpose of  assessing our jurisdiction, we assume, without deciding, that  Slinger is correct and the order issued on Thursday, September 30, 1999.  Even accepting this assumption, however,  Slinger's notice of appeal was not timely.
    
    
      4
      33 U.S.C. § 1319(g)(8)(B) specifies that the period for filing  a notice of appeal runs for 30 days beginning on the day the order issues.  This provision does not, however, indicate any  rules regarding the treatment of weekend days, holidays, or  other potential exceptions.  As a result, we look to Federal  Rule of Appellate Procedure 26(a), which provides that Saturdays and Sundays are counted within the filing period, unless  the last day of the period falls on a Saturday or Sunday.  In  particular, Rule 26(a) directs that we "[i]nclude the last day of  the period unless it is a Saturday, Sunday [or] legal holiday." Under this provision, the court must include intermediate  Saturdays and Sundays in computing the 30-day period. Thus, starting with the date Slinger asserts the order issued,  Thursday, September 30, 1999, the 30-day period ended on  Friday, October 29, 1999.  Slinger filed its notice of appeal to  this court on Monday, November 1, 1999--outside the legal  time for filing its notice of appeal.
    
    
      5
      At oral argument Slinger asserted that Rule 26(a) governs  how the 30-day period is computed.  Were this the case, we  would "[e]xclude the day of the act, event, or default that  begins the period."  Fed. R. App. P. 26(a).  Thus, under Rule  26(a), we would not include the day the order issued, which  would mean that the 30th calendar day fell on Saturday,  October 30, 1999.  Under this calculation, the 30th day for  filing a notice of appeal would have been Monday, November  1, 1999, the day that Slinger filed.
    
    
      6
      Rule 26(a), however, does not apply when Congress has  specified a particular method of counting in the statute itself  and there is no indication of a contrary congressional intention.  This was evident in United Mine Workers of America  v. Dole, 870 F.2d 662, 665 (D.C. Cir. 1989), where the court  found that Rule 26(a) applied to the requirement in the Mine  Act, 30 U.S.C. § 811(d) (1994), that a petition challenging a  new standard be filed "prior to the sixtieth day after such  standard is promulgated."  The court explained that, because  the cited statute made "no separate provision for the computation of time," "Congress intended its time periods to be  computed in accordance with the federal rule."  United Mine  Workers, 870 F.2d at 665.  The court also noted the "continuing vitality" of the Supreme Court's reasoning in Union  National Bank v. Lamb, 337 U.S. 38, 40-41(1949), namely,  "that the federal rules of procedure can be relied on for  interpreting a statutory time period in the absence of any  more statute-specific provisions or indication that Congress  did not intend the rules to apply."  United Mine Workers,  870 F.2d at 665 n.2.
    
    
      7
      In this case, in contrast, the statute currently before us  clearly establishes a separate provision for the computation of  time:  a person may obtain review by filing "within the 30-day  period beginning on the date the civil penalty issued."  33  U.S.C. § 1319(g)(8)(B) (emphasis added).  And there is nothing to suggest that Congress did not intend precisely what it  said in the statute.  As a result, Slinger's notice of appeal was  not timely, and this court has no authority to hear the merits  of its claim.  We dismiss the appeal for lack of jurisdiction.
    
    